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                                      Amended Synopsis
                                        (Indictment)

Name:                                    Praneeth Manubolu

Address:                                 Edgewater, NJ
(City & State Only)
Year of Birth and Age:                   1991/30

Violations:                              Counts 1-3: Manslaughter, 18 U.S.C. §1112(a) (Class D
                                         Felony).
                                         Counts 4 and 5: OUI, 36 C.F.R. §4.23(a)(1) and
                                         (2)(Class B Misdemeanors).
                                         Count 6: Unsafe Operation, 36, C.F.R.
                                         §4.22(b)(1)(Class B Misdemeanor).

Penalties:                               Counts 1-3: Imprisonment of not more than 8 years, a
                                         fine of $250,000, or both. 18 U.S.C. §1112(b).
                                         Counts 4-6: Imprisonment of not more than 6 months,
                                         $250,000, or both. 36 C.F.R. §1.3(a); 18 U.S.C.
                                         §3571(a)(4).

Supervised Release:                      Counts 1-3: Not more than three years. 18 U.S.C.
                                         §3583(b)(2).
                                         Counts 4-6: Not more than one year. 18 U.S.C.
                                         §3583(b)(3).

Maximum Term of Imprisonment for         Counts 1-3: Not more than two years. 18 U.S.C.
Violation of Supervised Release:         3583(e)(3).
                                         Counts 4 -6: Not more than one year. 18
                                         U.S.C.§3583(e)(3).

Maximum Add’l Term of Supervised         Counts 1-3: Not more than three years, less any term of
Release for Violation of Supervised      imprisonment. 18 U.S.C. §3583(h).
Release:                                 Counts 4-6: Not more than one year, less any term of
                                         imprisonment. 18 U.S.C. §3583(h).

Defendant’s Attorney:                    Walter McKee

Primary Investigative Agency and Case    U.S. Park Rangers, Brian Dominy
Agent Name:

Detention Status:                        On federal bail

Foreign National:                        Yes
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Foreign Consular Notification         Yes
Provided:
County:                               Hancock

AUSA:                                 Raphaelle A. Silver and M. Andrew McCormack

Guidelines apply? Y/N                 Yes

Victim Case:                          Yes

Corporate Victims Owed Restitution?   N/A
Y/N

Assessments:                          Counts 1-3: $100.00
                                      Counts 4-6: $10.00
